Case 2:04-cr-20320-SH|\/| Document 61 Filed 05/17/05 Page 1 of 2 Page|D 77

IN THE UNITED sTATEs DISTRICT comm new .=t__
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 05 Ht",-,Y 17 P§“I £= L:FB

 

JWD
Nc.MbLCT
*W.MEMPHE

 

UNITED STATES OF AMERICA,
Plaintiff,
vs.

CR. NO. 04#20320-Ma

ERIC CARL JOHNSON,

-_z-_¢-_/\_/~_/\_,»\_/~_/»._/

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF E.XCLUDABLE DELAY

 

This cause came on for a report date on April 21, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., With a
report date of Tuesday, May 31, 2005 at 2:00 p.m.

The period from April 21, 2005 through June 17, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this l'?}¢\ day of May, 2005.

k(//’M-»L_`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Th§s document entered on the docket shth tn ”n;nz)i‘an=:a
warn ath 55 and/or 32{1:>) FF\ch mt 5,¢_>'2_t'»;;t;§»nn m _____

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:04-CR-20320 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

Stephen R. Left]er
LEFFLER LAW OFFICE
707 Adams Ave.
Memphis7 TN 38105

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

